Case 2:15-ml-02668-PSG-SK Document 1424 Filed 06/17/24 Page 1 of 5 Page ID #:52621



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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
   16   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION                      PLAINTIFFS’ REPLY
   17
                                                  MEMORANDUM IN SUPPORT OF
   18   THIS DOCUMENT RELATES TO                  TRIAL MOTION TO EXCLUDE
   19   ALL ACTIONS                               CUMULATIVE AND UNFAIRLY
                                                  PREJUDICIAL EVIDENCE
   20

   21                                             Judge: Hon. Philip S. Gutierrez
   22                                             Trial Date: June 5, 2024

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Case 2:15-ml-02668-PSG-SK Document 1424 Filed 06/17/24 Page 2 of 5 Page ID #:52622



    1         Plaintiffs have moved to exclude the introduction of any testimony from Dr.
    2   Nancy Mathiowetz, the NFL’s rebuttal survey expert, on the ground that “none of
    3   Plaintiffs’ core damages theories or conclusions rely in any way on the survey Dr.
    4   Mathiowetz was hired to rebut,” such that her testimony “would be unnecessarily
    5   cumulative” and otherwise be “far outweighed by the danger of unfair prejudice and
    6   jury confusion.” Dkt. No. 1410, at 2–3. The NFL has opposed, see Dkt. No. 1414,
    7   and Plaintiffs submit this brief reply memorandum to detail several substantive
    8   incomplete quotations and omissions in the NFL’s opposition.
    9         In its opposition, the NFL incorrectly claims that Dr. Mathiowetz should be
   10   heard because (according to the NFL) Dr. Rascher’s damages calculation in his No
   11   Exclusivity but-for-world—the world in which the NFL distributes Sunday Ticket
   12   through multiple entities—relies on “both of Dr. Zona’s models,” including the one
   13   that analyses the survey data that was the subject of Dr. Mathiowetz’s reports. See
   14   Dkt. No. 1414, at 3. Specifically, the NFL claims that “Dr. Rascher was the first
   15   expert to offer the $3.5 billion damages number to the jury,” and that, “in describing
   16   why he felt comfortable using that number, Dr. Rascher cited both of Dr. Zona’s
   17   models.” Id. at 2 (emphasis the NFL’s).
   18         To support its claim, the NFL cites to several paragraphs from Dr. Rascher’s
   19   report and misrepresents each of them. For instance, the NFL quotes Dr. Rascher to
   20   have said that he “rel[ied] on evidence that includes . . . analysis of Sarah Butler’s
   21   surveys.” See Dkt. No. 1414, at 3 (quoting Rascher Mertis Rpt. ¶ 407). But the NFL’s
   22   ellipses improperly omit crucial language from Dr. Rascher’s report. In reality—
   23   inserting in red the language the NFL removed—Dr. Rascher said: “At the Class
   24   Certification phase of this case, Defendants claimed that I assume that the No
   25   Exclusivity BFW would have a lower price, but of course I do not. I rel[ied] on
   26   evidence that includes the NFL’s own offerings in Canada and other countries,
   27   the MLB and NBA yardsticks, MLB benchmark, NFL’s own surveys, and
   28                                             1
Case 2:15-ml-02668-PSG-SK Document 1424 Filed 06/17/24 Page 3 of 5 Page ID #:52623



    1   analysis of Sarah Butler’s surveys.”). See Rascher Merits Rpt. ¶ 407). In this and
    2   related paragraphs from Dr. Rascher’s report cited by the NFL in its opposition, Dr.
    3   Rascher was responding to arguments made by an NFL expert at the class
    4   certification stage. That expert (Mark Israel) did not submit a merits report, and was
    5   not designated for trial. At the merits stage, Dr. Rascher relies only on reduction
    6   factors from Dr. Zona’s Transactions Model. See, e.g., Rascher Merits Rpt. ¶ 406
    7   n.521.
    8            To aid the Court, Plaintiffs attach hereto (i) each of the NFL’s citations to Dr.
    9   Rascher’s report, (ii) the corresponding text from Dr. Rascher’s report that is
   10   contained in the NFL’s opposition, and (iii) the language (in red) that the NFL
   11   omitted or changed. See Exhibit A. The NFL’s opposition to Plaintiffs’ motion hinges
   12   on its claims that Dr. Rascher relied on Dr. Zona’s analysis of the survey data that
   13   Dr. Mathiowetz was hired to assess. But the NFL misquotes Dr. Rascher’s report to
   14   support its claim. For these reasons, and the reasons developed in Plaintiffs’ motion,
   15   Plaintiffs respectfully request that their motion to exclude Dr. Mathiowetz be granted.
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   17   Dated: June 17, 2024                      Respectfully submitted,
   18

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Case 2:15-ml-02668-PSG-SK Document 1424 Filed 06/17/24 Page 4 of 5 Page ID #:52624


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Case 2:15-ml-02668-PSG-SK Document 1424 Filed 06/17/24 Page 5 of 5 Page ID #:52625


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